       Case 4:13-cr-00066-DLH            Document 745      Filed 12/22/14      Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,            )
                                     )
              Plaintiff,             )       ORDER
                                     )
       vs.                           )
                                     )
Tomas David Hale,                    )       Case No. 4:13-cr-066-16
                                     )
              Defendant.             )


       Defendant is in federal custody at the Hearth of America Correctional and Treatment Center

(“HACTC”) in Rugby, North Dakota, awaiting sentencing, which is presently scheduled for

February 27, 2015. On December 22, 2014, defendant filed a “Motion for Release into Inpatient

Treatment,” advising: (1) he had been accepted into an inpatient chemical dependency treatment

program at the Parshall Resource Center in Parshall, North Dakota; (2) his treatment is scheduled

to begin on December 23, 2014; and (3) his parents can transport him from HACTC to the Parshall

Resource Center.

       There being no objection from the Government, the court GRANTS defendant’s motion

(Docket No. 743) and ORDERS that defendant shall be released subject to the following conditions:

       (1)    Defendant shall be released to the custody of his parents no earlier than 9:00 a.m. on

              Tuesday, December 23, 2014, for transport from HACTC to the Parshall Resource

              Center;

       (2)    Defendant shall reside at the Parshall Resource Center, comply with its rules and

              regulations, and fully participate in its treatment program;

       (3)    Defendant shall report the Pretrial Services Office as directed and signed releases as

                                                1
Case 4:13-cr-00066-DLH        Document 745        Filed 12/22/14      Page 2 of 3




      necessary so that the Pretrial Services Office can monitor his progress in the

      treatment program.

(4)   Defendant shall refrain from: any use of alcohol; any use or possession of a narcotic

      drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

      unless prescribed by a licensed medical practitioner; and any use of inhalants.

      Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

      Services Officer to verify compliance. Failure or refusal to submit to testing or

      tampering with the collection process or specimen may be considered the same as a

      positive test result.

(5)   Defendant shall not possess a firearm, destructive device, or other dangerous

      weapon.

(6)   Defendant shall submit his person, residence, vehicle, and/or possessions to a search

      conducted by a Pretrial Services Officer at the request of the Pretrial Services

      Officer. Failure to submit to a search may be grounds for revocation of pretrial

      release. Defendant shall notify any other residents that the premises may be subject

      to searches pursuant to this condition.

(7)   Upon successful completion of the residential portion of the treatment program,

      defendant shall immediately report to the Pretrial Services Office in Minot before

      any change of address is made so that it may evaluate the appropriateness of his

      proposed living arrangement.

(8)   If after completion of the inpatient treatment program, the supervising Pretrial

      Services Officer determines defendant is in need of placement in a residential


                                        2
Case 4:13-cr-00066-DLH          Document 745         Filed 12/22/14      Page 3 of 3




       facility, defendant shall voluntarily report the designated facility as directed, comply

       with the facility’s rules and regulations, participate in all recommended

       programming, and not leave the facility without prior permission of the supervising

       Pretrial Services Officer.

(9)    Defendant must not violate federal, state, tribal, or local law while on release.

(10)   Defendant must appear in court as required and surrender to serve any sentence

       imposed.

IT IS SO ORDERED.

Dated this 22nd day of December, 2014.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court




                                          3
